Case 2:22-cv-00319-TOR   ECF No. 89-11   filed 09/23/24   PageID.1347   Page 1
                                    of 4




                            Exhibit J




                                                                Exhibit J Page 1
Case 2:22-cv-00319-TOR   ECF No. 89-11   filed 09/23/24   PageID.1348   Page 2
                                    of 4




                     WSU_00011806-WSU_00011807




                                                                Exhibit J Page 2
       Case 2:22-cv-00319-TOR         ECF No. 89-11    filed 09/23/24   PageID.1349 Page 3
                                                 of 4
          From: HRS Exemptions <hrs.exemptions@wsu.edu>
             To: "Chun, Patrick" <patrick.chun@wsu.edu>, "McCoy, Anne R" <amccoy@wsu.edu>
            Cc: "Wilmoth, Bonnie" <bonnie.wilmoth@wsu.edu>, "Warren, Stephanie C"
                 <stephanie.warren@wsu.edu>, HRS Exemptions <hrs.exemptions@wsu.edu>
        Subject: RESPONSE NEEDED | Religious Accommodation Request | Nick Rolovich
           Date: Wed, 6 Oct 2021 21:04:42 +0000
    Importance: Normal
  Inline-Images: image001.png; image002.png; image003.png; image004.jpg


Human Resource Services received a Religious Accommodation request regarding one of your employees:

 Employee:              Nick Rolovich
 TITLE:                 Head Football Coach
 WSU ID:                011732256
 Effective Date:        Upon Approval

Nick Rolovich has requested an accommodation from Washington State University’s (WSU) COVID-19 vaccine
requirement based upon a religious belief, practice, and/or observance. WSU has engaged in a good faith review of the
information submitted through written and/or oral communications, which support the accommodation request based
on a sincerely held religious belief.

After review, we are considering approving the employee’s request subject to the following terms and conditions:

   ·   Employee must wear a face covering that covers the employee’s nose and mouth, and fits snugly a at all times
       unless 1) the employee is outside and can maintain 6 feet of social distance from all other individuals; 2) while
       working alone indoors. (note - a person is working alone if they are isolated from interactions with others and
       have little or no expectation of in-person interruptions (e.g. in a closed office).

   ·    Employee must social distance from others on WSU property when possible.

   ·    If WSU adopts a COVID-19 testing requirement for unvaccinated workforce members, employee will be
       required to submit to such testing as required by WSU.

   ·   The terms and conditions are subject to change and are amended to conform to any federal, state and local
       public health orders or other lawful government orders, and/or WSU adoption of additional occupational
       health and safety interventions or countermeasures to prevent the spread of COVID-19 in the workplace.

Next Steps - Review Job Duties
The department is to review the employee’s position description or essential job functions, to determine if the
employee is able to perform essential functions of the position and meet the COVID-19 safety measures consistent
with the recommendations of the state and protect the health and safety of the WSU community as part of this
accommodation request.

RESPONSE NEEDED:
Please contact the HRS Exemptions team at hrs.exemptions@wsu.edu by the end of the day Friday, October 8, 2021 to
let us know:
     1. You have no concern with this request
     2. If you are NOT able to accommodate this request with the above recommendations
     3. If you are able to accommodation the request but believe additional measures may be necessary to meet health
        and safety standards (e.g. relocation of office space to a non-open/shared or less central/populated work area,

                                                                                              Exhibit J Page 3
                                                                                                           WSU_00011806
         Case 2:22-cv-00319-TOR              ECF No. 89-11        filed 09/23/24      PageID.1350                          Page 4
                                                           of 4
       safety barriers such as plexi-glass or heightened cubical walls; telework agreement. etc)
    4. If you have any questions or would like to meet to discuss further.

Once a decision on the Religious Accommodation is finalized, HRS will send out the final accommodation notification to
the employee and the department.

Thank you,
Teddi

Teddi Phares, PHR
HR Consultant | Washington State University Human Resource Services
Pronouns: She/Her/Hers
PO Box 641014 | French Administration Building, Room 139| Pullman, WA 99164-1014
e: teddi.phares@wsu.edu | t: (509) 335-8331 or (509) 335-4521| f: (509) 335-1259
Connect with Human Resource Services!
Main Website: hrs.wsu.edu |Jobs: wsu.edu/jobs


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                                                                                                               Exhibit J Page 4
                                                                                                                              WSU_00011807
